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     1   MICHAEL D. BRESLAUER [SBN 110259]
         mbreslauer@,swsslaw.com
     2   SOLOMOJ'r'WARD SEIDENWURM & SMITH, LLP
         401 B Street, Suite 1200
     3   San Diego, California 92101
         Telephone: (619) 231-0303
    4    Facsimile: (619) 231-4755
     5   Attorney:s for Debtor-In-Possession
         CLASS WAR, INC.
     6

     7

    8                         UNITED STATES BANKRUPTCY COURT
    9                         SOUTHERN DISTRICT OF CALIFORNIA
    10   In re                                        CASE NO. 18-06044-LTl 1
    11   JESSE DAWBER, an individual,                 Chapter 11
    12                                                fJointly: Administered with Case No. 19-
                         Debtor-In-Possession.        00293-LTl 1]
    13
                                                      FORCE 10 PARTNERS NOTICE OF
    14   JESSE DAWBER, an individual,                 MONTHLY FEE STATEMENT #3
                                                      FOR THE PERIOD FROM MAY 1,
    15                    Case No. 18-06044-LTl 1     2019 THROUGH MAY 31, 2019
    16
         CLASS WAR, INC., a California                [NO HEARING REQUIRED]
    17   corporation,
    18                    Case No. 19-00293-LTl 1     Dept. Three (3)
                                                      Honorable Laura S. Taylor
    19
                             Debtors.

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    21   1X      Affects both Debtors.
                 Affects Class War, Inc. only.
    22           Affects Jesse Dawber only.
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               TO THE HONORABLE LAURA S. TAYLOR, UNITED STATES
     2   BANKRUPTCY JUDGE AND PARTIES IN INTEREST:
     3         PLEASE TAKE NOTICE that pursuant to the Bankruptcy Court's Amended
    4    Order on Debtor Class War Inc.'s ("Class War") Motion for Orders (1) Approving
     5   Services Agreement with Force 10 Partners, LLC, Pursuant to 11 U.S.C. § 363(b) and
    6    (2) Authorizing Monthly Fee Statement Procedures and Payments, entered April 15,
     7   2019 (Dkt. No. 237) (the "Force 10 Employment Order"), Force Ten Partners, LLC
    8    ("Force 10") hereby submits this monthly statement of services rendered and expenses
    9    incurred in this case for the period from May 1, 2019 through May 31, 2019 (the
    10   "Statement Period").
    11   I.    Itemization of Services Rendered by Force 10:
    12            1.   The following is a list of individuals and their respective titles that
    13   provided services during the Statement Period. It includes information regarding their
    14   respective billing rates and the total number of hours spent by each individual
    15   providing services during the Statement Period for which Force 10 seeks
    16   compensation.
    17                                TIMEKEEPER SUMMARY
    18      NAME OF     POSITION/  HOURS                              HOURLY        AMOUNT
          PROFESSIONAL DEPARTMENT BILLED IN                           BILLING        BILLED
                                   PERIOD                              RATE
    20
          J. Rosenthal                CRO                 11.5           600.00        $6,900.00
    21
          C. Kurtz                  Director              7.2            375.00        $2,700.00
    22
          E. Sprague                  Staff               8.5            225.00       $1,912.50
    23    Total                                           27.2                       $11,512.50
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                                            TASK SUMMARY
     2                            TASK                       HOURS                AMOUNT
                                                                                  BILLED
     3
                Accounting & Bookkeeping                        4.3                   $967.50
    4
                Accounting & Monthly Operating Report           4.1                  $1,282.50
     5
                Business Operations                             3.8                  $2,190.00
    6
                Cash Collateral/ Cash Flow Forecasting          0.5                   $187.50
     7
                CRO                                             8.1                  $4,860.00
    8
                Fee & Employment Application                    2.5                   $562.50
    9           Tax                                             3.9                  $1,462.50
    10
                Total                                          27.2                 $11,512.50
    11

    12
                  2.    The time records of Force 10 consisting of a daily breakdown of the time
    13
         spent by each person on each day, and detail as to the disbursements incurred, have
    14
         been concurrently sent to the United States Trustee pursuant to the Force 10
    15
         Employment Order.
    16
         II.      Itemization of Expenses Incurred by Force 10:
    17
                  3.    The expenses incurred by Force 10 for this Statement Period are as
    18
         follows:
    19
                                 I Total Expenses                     $0.00   j
    20
                  4.    The expense records of Force 10 consisting of the itemized breakdown
    21
         of expenses incurred by Force 10 or its personnel, have been concurrently sent to the
    22
         United States Trustee pursuant to the Force 10 Employment Order.
    23
         III.     Summary
    24
                  5.    Accordingly, the amount of compensation and expenses payable for this
    25
         Statement Period to Force 10 is $11,512.50, which is calculated as follows:
    26
                Total Fees During Statement Period                                  $11,512.50
    27
                Total Expenses                                                         + $0.00
    28


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            I TOTAL                                                             $11,512.50   I
     2         6.     Any party-in-interest who has received a copy of this Notice may object
     3   to the fees and costs requested by providing written objection within ten (10) days of
    4    the date of service of this Notice to the Debtor's counsel, Solomon Ward, and Force
     5   10 setting forth the specific grounds for such objection. Upon such objection, the
     6   Debtor will set such objection for hearing and review by the Bankruptcy Court.
     7         WHEREFORE, pursuant to the Force 10 Employment Order, Force 10 intends
     8   to seek payment from Class War for the above amounts after the ten (10) day notice
     9   period set forth in the Force 10 Employment Order expires. If an objection to this
    10   statement of fees and expenses is timely filed, the approval of this statement shall be
    11   set for hearing by the Debtor and subject to review and approval by the Court.
    12

    13    Dated: June 12, 2019                   Respectfully submitted,
    14
                 San Diego, California
                                                 By: /s/ Jeremy Rosenthal
    15                                                Jeremy Rosenthal
    16                                                Chief Restructuring Officer,
                                                      Class War, Inc.
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   1                                               PROOF OF SERVICE

   2             I, Wendy A. Yones, declare as follows:

   3           I am employed in the County of San Diego, State of California; I am over the age of
       eighteen years and am not a party to this action; my business address is Solomon Ward
   4   Seidenwurm & Smith, LLP, 401 B Street, Suite 1200, San Diego, CA 92101, in said County and
       State. On June 12, 2019, I served the following document(s):
   5
            FORCE 10 PARTNERS NOTICE OF MONTHLY FEE STATEMENT #3 FOR THE
   6        PERIOD FROM MAY 1, 2019 THROUGH MAY 31, 2019
   7   on each of the interested parties as follows:
   8
       TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF"}
       Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s) ("LBR"), the foregoing
   9   document will be served by the court via NEF and hyperlink to the document. On June 12, 2019, I
       checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
  10
       the following person(s) are on the Electronic Mail Notice List to receive NEF transmission at the
       email address( es) indicated below:
  11
                 •Christine E. Baur christine@baurbklaw.com, admin@baurbklaw.com
  12             •Michael D. Breslauer mbreslauer@swsslaw.com, wyones@swsslaw.com
                 •John W. Cutchin jcutchin@san.rr.com
  13             •Jesse S. Finlayson jfinlayson@ftrlfirm.com, bmendoza@ftrlfirm.com
                 •Douglas Flahaut flahaut.douglas@arentfox.com
  14             •Lauren Nicole Gans lgans@shensonlawgroup.com, jshenson@shensonlawgroup.com
                 •Todd S. Garan chllecf@aldridgepite.com, tgaran@aldridgepite.com;TSG@ecf.courtdrive.com
  15             •Aram Ordubegian ordubegian.aram@arentfox.com
                 •David Ortiz david.a.ortiz@usdoj.gov,
  16             USTP.REGION15@USDOJ.GOV;tiffany.I.carroll@usdoj.gov;Elizabeth.C.Amorosi@usdoj.gov
                 •Michael L. Turrill michael.turrill@hoganlovells.com,
  17             elizabeth.goncharov@hoganlovells.com;tiffany.dejonge@hoganlovells.com;jamie.wood@hoganlovells.com;ladock
                 eting.com
  18             • United States Trustee ustp.regionl5@usdoj.gov
                 •Donald A. Vaughn dav@vv-law.com, etopol@vv-law.com
  19             •Christopher K.S. Wong christopher.wong@arentfox.com

  20   SERVED BY U.S. MAIL: On June 12, 2019, I served the following person(s) and/or entity(ies)
       at the last known address(es) in this bankruptcy case or adversary proceeding by placing a true and
  21   correct copy thereof in a sealed envelope in the United States Mail, first class, postage prepaid,
       and/or with an overnight mail service addressed as follows:
  22
                 SEE ATTACHED SERVICE LIST
  23
       I declare under penalty of perjury under the laws of the United States of America that the
  24   foregoing is true and correct.
  25

  26   Dated: June 12, 2019                        By: /s/ Wendy A. Yones
  27                                                   WENDY A. YONES

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       P:O 1293387:60673.001
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                        American Express
                        P. 0. Box 981535
                        El Paso, TX 79998-1535



                        Brainwash
                        Blk 3 8D Bendemeer Rd
                        #20-864
                        Singapore 334038



                        California Dept of Tax
                        & Fee Administration
                        P.O. Box 942879
                        Sacramento, CA 94279



                        City National Bank
                        P.O. Box 6 O9 3 8
                        Los Angeles, CA 90060-0938



                        FTB California
                        Bankruptcy, BE MS A345
                        P. o. Box 2 9 5 2
                        Sacramento, CA 95812-2952



                        Faction, Inc.
                        1050 Indigo Drive, Suite 115
                        Las Vegas, NV 89145



                        Liberty Logos
                        2013 Olde Regent Way
                        Suite 150 #193
                        Leland, NC 28451



                        Limpus Prints Inc.
                        1820 South Sante Fe St
                        Santa Ana, CA 92705
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                       Meindl Bekleidung GmBH & Co.KG
                       Dorfplatz 8-10
                       83417 Kirchanschoring Germany



                       Middle of Beyond
                       4518 Patria Drive·
                       San Diego, CA 92115



                       STFU Global Pte. Ltd.
                       6 Eu Tong Sen Street #12-20
                       The Central
                       Singapore 059817



                       Silk Screen Shirts Inc.
                       6185 El Camino Real
                       Carlsbad, CA 92009



                       Sketchy Tank
                       468 Puebla Street
                       Encinitas, CA 92024



                       Zumiez
                       4001 204th Street SW
                       Lynnwood, WA 98036
